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IN THE UNITED sTATEs DISTRICT coURT F!l-ED B‘¢' .l.lr.Qf: t).fi;
FoR THE WESTERN DISTRICT or TENNESSEE
WESTERN DIvISIoN 95 JUL | | PH h= 09
news a seas
RACHAEL KATHRYN WHITE, ) C‘£HK U'§' PFSWCT _COUT
) W/D O»~ itt t.tEMPHTS
Plaincirf, )
)
vs. ) NO.: 01-2188 ~' 6
)
sUNBELT RENTALS, er al., )
)
Defendants. )

 

ORDER SETTING SETTLEMENT CONFERENCE

 

Pursuant to the Order of Reference entered by U.S, District Court Judge J. Daniel Breen,
a Settlement Conference has been scheduled for TUESDAY, AUGUST 9, 2005 at 10:00 A.M.
in Room 934, Ninth Floor of the Federal Building, 167 N. Main, Memphis, Tennessee.

The lead attorney Who Will try the case for each party must appear. ln addition, the
parties or representatives of corporate parties must be present at the conference and must possess
full authority to approve any settlement. If any part of the potential liability of a party is
insured, or subject to idenmnity, a representative of an insurer or indemnitor vvith authority to pay
the full policy of indemnity limits, must also be present at the conference.

Counsel shall submit to chambers, not later than three (3) days before the scheduled
settlement conference, an in camera statement Which shall include a statement of the case,

strengths and weaknesses for each party, citations to relevant legal authority, amount and

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with F.ula 58 and/or 79{a) FHCP on

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explanation of damages claimed, current status of settlement discussions and a brief summary of
any expert testimony that would likely be introduced at trial by any party. Counsel are invited to
include any other matters that might assist the Magistrate Judge in negotiating a settlement Such
statements shall be for the court’s review only and a copy shall m)_t be provided to opposing
parties. Counsel shall fax a copy of the in camera statement to my chambers in Jackson at (731)
421-9272.

Counsel and representatives of the parties shall be prepared to stay the entire day if

necessary

IT IS SO ORDERED.

7a

S. THOMAS ANDERSON
UNlTED STATES MAGISTRATE JUDGE

Date: Q/NE\ prr. 200\.\/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:01-CV-02188 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

